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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


Jowita Truchan (A 204 302 748)                       )
                                                     )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            )
                                                     )      Case No. 21-cv-3281
Alejandro Mayorkas, Secretary,                       )
Department of Homeland Security and                  )
Kevin Riddle, Field Office Director,                 )
Chicago Field Office, U.S. Citizenship &             )
Immigration Services,                                )
                                                     )
       Defendants.                                   )


                           PETITION FOR WRIT OF MANDAMUS

       Plaintiff, Jowita Truchan, by and through her own and proper person and through her

attorneys KRIEZELMAN BURTON & ASSOCIATES, LLC, hereby petitions this Honorable

Court for a Writ of Mandamus directing the U.S. Department of Homeland Security and U.S.

Citizenship and Immigration Services (hereinafter “USCIS”) to adjudicate her I-485 application

for lawful permanent resident status and her I-601 application for waiver of inadmissibility, and

in support thereof, states as follows:


                                           Introduction

   1. This is a civil action brought by Jowita Truchan to compel the Defendants to take action

       on her application for lawful permanent resident status (USCIS Form I-485) and her

       application for waiver of inadmissibility (USCIS Form I-601) filed by Plaintiff with U.S.

       Citizenship and Immigration Services (“USCIS”) nearly two years ago.




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                                    Jurisdiction And Venue

2.   This court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal question)

     in conjunction with 28 U.S.C. § 1361 (mandamus), the Administrative Procedure Act

     (APA) (5 U.S.C. § 555(b)), and the Immigration and Nationality Act and regulations

     implementing it (Title 8 of the CFR).

3.   Under 28 U.S.C. § 1331, “(t)he district courts shall have original jurisdiction of all civil

     actions arising under the Constitution, laws, or treaties of the United States.” There is

     jurisdiction under 28 U.S.C. § 1331 because this action arises under the Administrative

     Procedure Act (APA) (5 U.S.C. § 555(b) and 5 U.S.C. § 702), and the Immigration &

     Nationality Act (INA) and regulations implementing it (Title 8 of the CFR).

4.   Under 28 U.S.C. § 1361, “(t)he district courts shall have original jurisdiction of any action

     in the nature of mandamus to compel an officer or employee of the United States or any

     agency thereof to perform a duty owed to the plaintiff.”

5.   The APA requires USCIS to carry out its duties within a reasonable time. 5 U.S.C. §

     555(b) states, “(w)ith due regard for the convenience and necessity of the parties or their

     representatives and within a reasonable time, each agency shall proceed to conclude a

     matter presented to it.” USCIS is subject to 5 U.S.C. § 555(b). Plaintiff contends that the

     delay in processing his application is unreasonable.

6.   Both the regulations and the INA provide numerous examples of duties owed by USCIS in

     the adjustment of status process. 8 U.S.C. § 1103 states that “[t]he Attorney General shall

     be charged with the administration and enforcement of this chapter and all other laws

     relating to the immigration and naturalization of aliens.” (emphasis added). The Code of

     Federal Regulations further provides that “[e]ach applicant for adjustment of status under



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      this part shall be interviewed by an immigration officer,” 8 C.F.R. § 245.6 (emphasis

      added); and, most importantly, that “the applicant shall be notified of the decision of the

      Director, and, if the application is denied, the reasons for the denial.” 8 C.F.R. § 245.2

      (emphasis added).

7.    The language of the statute and these regulations are mandatory, not discretionary, and

      requires the Defendant to adjudicate the visa petition. USCIS has a mandatory duty to

      adjudicate applications and petitions and jurisdiction thus vests in mandamus before this

      Court. Iddir v. INS, 301 F.3d 492, 500 (7th Cir. 2002).

8.    Venue of this action is proper under 28 U.S.C. § 1391(e)(3). The Defendants maintain

      offices in this district and the USCIS Office in this district will adjudicate Plaintiff’s

      application for adjustment. Further, Plaintiff resides in Cook County, Illinois, which is

      within the judicial district of Northern District.

                                                Parties

9.    Plaintiff Jowita Truchan was born in Poland. She resides in Cook County, Illinois.

10.   Defendant Kevin Riddle is sued in his official capacity only. He is the Field Office

      Director of the Chicago Field Office of USCIS. As such, he is the Attorney General’s

      designate for the Chicago area, charged with the duty of administration and enforcement of

      all the functions, powers, and duties of USCIS.

11.   Defendant Alejandro Mayorkas, Secretary for the Department of Homeland Security

      (“DHS”), is being sued in his official capacity only. Pursuant to the Homeland Security

      Act of 2002, Pub. L. 107-296, Defendant Mayorkas, through his delegates, has authority to

      adjudicate adjustment of status applications and visa petitions filed with the United States




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      Citizenship and Immigration Services (USCIS) and to accord lawful permanent resident

      status pursuant to 8 U.S.C. § 1255.

                                      Factual Background

12.   Plaintiff Jowita Truchan is a native and citizen of Poland.

13.   Plaintiff Truchan married Bartolomiej Truchan, a naturalized U.S. citizen, in 2012. Mr.

      Truchan filed an I-130 visa petition on behalf of Plaintiff Truchan on July 26, 2012 and

      USCIS approved the visa petition on January 15, 2013.

14.   Plaintiff Wielgus filed her Form I-485, application for adjustment of status with USCIS on

      July 24, 2019. Plaintiff Truchan entered the U.S. when she was 15 years old in 2005 and

      used a false passport and visa to enter the U.S. based on arrangements made by her

      parents. Due to her use of the false passport and visa, Plaintiff Truchan filed Form I-601,

      application for waiver of inadmissibility with USCIS on July 24, 2019.

15.   A visa has been available (immediate relative) for Plaintiff Truchan’s Form I-485 since the

      time of filing.

16.   Plaintiff Truchan attended an interview before USCIS Chicago on October 19, 2020.

17.   To date, USCIS has still not decided on the adjustment or waiver applications.

18.   The Plaintiff has received no communication regarding final adjudication of the

      applications, nor has she been instructed to provide any further information or

      documentation to USCIS.




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                                            Request For Relief

 19.   Plaintiff has complied with all the requirements for filing her adjustment and waiver

       applications.

 20.   The Defendants have willfully and unreasonably delayed and have refused to adjudicate

       the application for lawful permanent resident status (Form I-485) and application for

       waiver of inadmissibility (Form I-601).

 21.    The delay in adjudicating the applications is not attributable to the Plaintiff.

 22.   The Defendants owe the Plaintiff a duty to adjudicate her applications and have

       unreasonably failed to perform that duty by not adjudicating the applications. This duty is

       owed under the Immigration and Nationality Act and its implementing regulations, as

       well as by the fact that by charging a filing fee, USCIS created for itself an obligation to

       process and adjudicate the applications.

 23.   The delay is unreasonable per se.

24.    Plaintiff has exhausted all administrative remedies that may exist. No other remedy

       exists to resolve Defendants’ delay and lack of ability or willingness to adjudicate the

       application.




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      WHEREFORE, and in light of the foregoing, Plaintiff Monika Jowita Truchan prays that

this Honorable Court:

      A. Assume jurisdiction herein;

      B. Compel the Defendants and those acting under them to perform their duty or duties to

adjudicate the application for lawful permanent resident status;

      C. Grant such other and further relief, as the Court deems appropriate and just.


Dated: Chicago, Illinois                             Respectfully Submitted,
       June 18, 2021                                 Jowita Truchan

                                                     By: s/ Kevin Raica
                                                     One of her attorneys


Kevin Raica, Esq.
Kriezelman Burton & Associates, LLC
200 West Adams Street, Suite 2211
Chicago, Illinois 60606
(312) 332-2550
kraica@krilaw.com




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